                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

UNITED STATES OF AMERICA,

                                                      No. CR 12-4083-MWB-4
              Plaintiff,
vs.
                                                MEMORANDUM OPINION AND
PAIGE MATHISON,                               ORDER REGARDING DEFENDANT’S
                                                    MOTION IN LIMINE
              Defendant.
                            ___________________________

        In this case, defendant Paige Mathison is charged, with various co-defendants,
with four offenses that arise from her alleged participation in the robbery of a
convenience store in Sioux City, Iowa, on July 13, 2012, during which she allegedly
served as a lookout and getaway driver. Those charges are the following: In Count 4,
“conspiracy to commit a robbery interfering with commerce,” a Hobbs Act offense, in
violation of 18 U.S.C. § 1951; in Count 5, “aiding and abetting a robbery interfering
with commerce,” another Hobbs Act offense, in violation of 18 U.S.C. §§ 2 and 1951;
in Count 6, “possession of a firearm in furtherance of a robbery” and “aiding and
abetting” that offense, in violation of 18 U.S.C. §§ 2, 921(a)(6), 924(c)(1)(A)(ii) and
(B)(l); and in Count 7, “receiving or possessing an unregistered firearm” and “aiding
and abetting” that offense, in violation of 18 U.S.C. § 2 and 26 U.S.C. §§ 5841,
5845(a)(1) and (2), 5861(d), and 5871.1 This case is set for jury trial beginning June
17, 2013.


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        These counts will be renumbered 1-4 for purposes of trial. Although Count 5
charged Mathison as both a principal and an aider and abettor, the prosecution has
indicated it will assert only the aiding and abetting alternative for this count at trial.


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      This case is now before me on defendant Paige Mathison’s June 3, 2013, Motion
In Limine (docket no. 298). In that motion, Paige Mathison seeks to exclude evidence
of a robbery committed by some of her co-defendants three days prior to the robbery at
issue in this case. She contends that admission of the evidence would violate Rules 403
and 404(b) of the Federal Rules of Evidence, because she was not involved in the prior
robbery and, consequently, the robbery sheds no light on her conduct in the charged
offenses and is unfairly prejudicial, because it permits an assumption of guilt by
association, even if there are similarities between the two robberies. She also contends
that the jurors could be confused about which robbery is at issue in this case.
      In its Resistance (docket no. 300), filed June 5, 2013, the prosecution argues
that, while Paige Mathison apparently was not involved in the prior robbery by her
confederates, the evidence at trial will show that she knew about it. The prosecution
argues that her knowledge of the prior robbery makes it more probable that she
understood the conversations about committing the charged robbery; voluntarily and
intentionally joined in a conspiracy to commit the charged robbery; and knew that the
purpose of the charged conspiracy was to commit a robbery. Thus, the prosecution
argues that the evidence is relevant, indeed, “elemental.” The prosecution also argues
that there is no unfair prejudice from this evidence, because the evidence will show that
Mathison knew about the prior robbery, even if she did not commit it, and that there is
no real likelihood of confusion about which robbery is at issue in this case in light of
instructions about the offenses with which Mathison is charged and a reminder that she
is on trial only for the charged offenses, not for anything else. The prosecution also
contends that there is no real likelihood that the facts of the two robberies will “run
together” for the jurors, because the evidence of the prior robbery will not be explored
in nearly the degree that the evidence of the charged robbery will be.



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      Rule 401 of the Federal Rules of Evidence defines relevant evidence as evidence
that “(a) . . . has any tendency to make a fact more or less probable than it would be
without the evidence; and (b) the fact is of consequence in determining the action.”
Rule 402 provides that relevant evidence is generally admissible, but irrelevant
evidence is not. Rule 403 provides for exclusion of even relevant evidence on various
grounds, as follows:
                    The court may exclude relevant evidence if its
             probabtive value is substantially outweighed by a danger of
             one or more of the following: unfair prejudice, confusing
             the issues, misleading the jury, undue delay, wasting time,
             or needlessly presenting cumulative evidence.
FED. R. EVID. 403. As the Eighth Circuit Court of Appeals recently explained,
             [U]nder Rule 403, the [challenged evidence’s] probative
             value must be substantially outweighed by unfair prejudice.
             “Evidence is not unfairly prejudicial because it tends to
             prove guilt, but because it tends to encourage the jury to
             find guilt from improper reasoning. Whether there was
             unfair prejudice depends on whether there was an undue
             tendency to suggest decision on an improper basis.” United
             States v. Farrington, 499 F.3d 854, 859 (8th Cir. 2007)
             (quotations omitted).
United States v. Muhlenbruch, 634 F.3d 987, 1001 (8th Cir. 2011) (emphasis in the
original); United States v. Myers, 503 F.3d 676, 681 (8th Cir. 2007) (“Rule 403 ‘does
not offer protection against evidence that is merely prejudicial in the sense of being
detrimental to a party’s case.   The rule protects against evidence that is unfairly
prejudicial, that is, if it tends to suggest decision on an improper basis.’” (quoting
Wade v. Haynes, 663 F.2d 778, 783 (8th Cir. 1981), aff’d sub nom. Smith v. Wade,
461 U.S. 30, 103 S. Ct. 1625, 75 L. Ed. 2d 632 (1983)).
      The Advisory Committee Notes to Rule 403 explain that a decision on an
“improper basis” is “commonly, though not necessarily, an emotional one.” FED. R.

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EVID. 403, Advisory Committee Notes; see also United States v. Jiminez, 487 F.3d
1140, 1145 (8th Cir. 2007) (quoting this note); United States v. Dierling, 131 F.3d
722, 730-31 (8th Cir. 1997) (considering whether evidence was unfairly prejudicial,
because it might lead to a decision on an improper basis, where it purportedly had no
connection to the charged offense and revealed grisly or violent behavior that made the
defendant appear “dangerous”). Unfairly prejudicial evidence has also been described
as evidence that is “‘so inflammatory on [its] face as to divert the jury’s attention from
the material issues in the trial.’” United States v. Adams, 401 F.3d 886, 900 (8th Cir.
2005) (quoting United States v. Shoffner, 71 F.3d 1429, 1433 (8th Cir. 1995)). “Under
Rule 403, district courts have broad discretion to assess unfair prejudice, and are
reversed only for an abuse of discretion.” Myers, 503 F.3d at 681 (citing United States
v. Henderson, 416 F.3d 686, 693 (8th Cir. 2005), cert. denied, 546 U.S. 1175, 126 S.
Ct. 1343, 164 L. Ed. 2d 57 (2006)); accord Muhlenbruch, 634 F.3d at 1001 (“We
review the district court’s decision not to exclude evidence under Rule 403 for an abuse
of discretion.”).
       Where evidence may otherwise be inadmissible pursuant to Rule 403, the Eighth
Circuit Court of Appeals and the Federal Rules of Evidence recognize that a limiting
instruction on the proper uses of certain evidence may mitigate potential prejudice from
such evidence and allow it to be admitted. See, e.g, United States v. Cowling, 648
F.3d 690, 699 (8th Cir. 2011) (“Moreover, the risk of unfair prejudice was reduced by
a cautionary instruction to the jury, given when the evidence was first admitted.”);
United States v. Young, 644 F.3d 757, 761 (8th Cir. 2011) (concluding that the district
court did not abuse its discretion in admitting evidence for the limited purpose set forth
in its instruction); United States v. Walker, 470 F.3d 1271, 1275 (8th Cir. 2006) (“[A]
limiting instruction [concerning proper use of evidence of a prior conviction] diminishes
the danger of unfair prejudice arising from the admission of the evidence.”); see also

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FED. R. EVID. 105 (requiring a limiting instruction when the court admits evidence for
a limited purpose). The court has also recognized that limiting the amount of evidence,
while excluding evidence that might prejudicially divert the jury’s attention from the
issues in the case, also mitigates any potential for unfair prejudice. See United States v.
Lemon, 239 F.3d 968, 972 (8th Cir. 2001) (holding that, where the district court
admitted a limited amount of gang-related evidence that was relevant to the defendant’s
“mere presence” defense, but excluded evidence of his drive-by shooting conviction,
which might have prejudicially diverted the jury's attention from the constructive
possession issues central to the case, the district court had not abused its discretion in
admitting the limited gang-related evidence).2

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         Mathison also based her Motion In Limine on Rule 404(b) of the Federal Rules
of Evidence. Rule 404(b) provides that “[e]vidence of a crime, wrong, or other act is
not admissible to prove a person’s character in order to show that on a particular
occasion the person acted in accordance with the character,” FED. R. EVID. 404(b)(1),
but “[t]his evidence may be admissible for another purpose, such as proving motive,
opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack
of accident.” FED. R. EVID. 404(b)(2). The Eighth Circuit Court of Appeals has
interpreted this rule to permit the admission of evidence of prior acts “if it is
‘(1) relevant to a material issue; (2) proved by a preponderance of the evidence; (3)
higher in probative value than in prejudicial effect; and (4) similar in kind and close in
time to [the event at issue].’” Bair v. Callahan, 664 F.3d 1225, 1228-29 (8th Cir.
2012) (quoting Batiste–Davis v. Lincare, Inc., 526 F.3d 377, 380 (8th Cir. 2008)). I
doubt that Rule 404(b) is relevant here, where the prior “bad acts” are not acts of the
defendant, but acts of co-defendants that do not appear to be attributable to the
defendant, even on the basis of co-conspirator liability. Moreover, the balancing of
probative value against prejudicial effect pursuant to this rule is the same as the
balancing of these factors pursuant to Rule 403. See Batiste-Davis, 526 F.3d at 380
(noting that the third requirement under Rule 404(b), “whether the probative value
exceeds the unfair prejudice,” is “an analysis equivalent to that in Rule 403”). I find
that the admissibility of the challenged evidence here turns on this balancing of
probative value against prejudice, whether the balancing is pursuant to Rule 403 or
Rule 404(b).

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      Considering the “probative value” side of the scales under Rule 403,
Muhlenbruch, 634 F.3d at 1001, it is clear that evidence that Mathison knew of the
prior robbery by her confederates has considerable probative value, because, as the
prosecution argues, such knowledge makes it more probable that she understood the
conversations about committing the charged robbery; voluntarily and intentionally
joined in a conspiracy to commit the charged robbery; and knew that the purpose of the
charged conspiracy was to commit a robbery.          See FED. R. EVID. 401 (defining
relevant evidence as evidence that has a tendency to make a fact of consequence in the
action more or less probable). As to the “prejudice” side of the scale, this evidence is
not unfairly prejudicial, simply because it is detrimental to Mathison’s contention that
she did not conspire to commit the charged robbery or knowingly participate in it. See
Myers, 503 F.3d at 681. Nor do I believe that it invites a decision on an improper
basis, such as guilt by association, so that it must be excluded. See id. (explaining that
evidence is “unfairly prejudicial” if it tends to suggest a decision on an improper basis).
Evidence that Mathison knew of a prior robbery by her confederates—not by her—is
not so emotionally charged or so inflammatory as to warrant exclusion. See FED. R.
EVID. 403, Advisory Committee Notes (explaining that a decision on an “improper
basis” is often, though not necessarily, an emotional one); Adams, 401 F.3d at 900
(evidence is unfairly prejudicial if it is so inflammatory on its face as to divert the
jury’s attention from material issues); Dierling, 131 F.3d at 730-31 (evidence of prior
“bad acts” by the defendant might be excluded under Rule 403 as unfairly prejudicial,
if they revealed grisly or violent behavior by the defendant).
      Moreover, to the extent that such evidence might carry a hint of unfair prejudice,
such a hint will be ameliorated or completely eliminated in this case by proper
instructions that limit the attention of the jury to the facts and elements of the charged
offenses.   See, e.g., Cowling, 648 F.3d at 699 (explaining that prejudice may be

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mitigated by a limiting instruction). As I always do, I will remind the jurors that only
Mathison, and not anyone else, is on trial and that Mathison is on trial only for the
charges against her, and not for anything else.
       Similarly, any hint of unfair prejudice can be ameliorated or eliminated here by
reasonable limitations on the extent and nature of the evidence of the prior robbery that
I will allow to be presented. See Lemon, 239 F.3d at 972 (concluding that prejudice
was mitigated by limitations on the evidence and exclusion of evidence most likely to
divert the jury’s attention). Specifically, what is most probative, and least likely to be
unfairly prejudicial, is evidence that Mathison knew that her confederates had engaged
in a robbery of another convenience store just three days before the charged robbery.
Although the more information about the prior robbery Mathison knew, the more likely
it is that she understood the conversations about committing the charged robbery,
voluntarily and intentionally joined in a conspiracy to commit the charged robbery, and
knew that the purpose of the charged conspiracy was to commit a robbery, the returns
are diminishing as they are weighed against the potential for prejudice of changing the
focus from the charged conspiracy and robbery to the prior robbery. Any details about
the prior robbery that Mathison did not know clearly suggest only guilt by association,
rather than guilty knowledge and culpable action on her part.
       The prosecution has represented that it will limit the evidence of the prior
robbery to demonstration of Mathison’s knowledge of it, without exploring that prior
robbery in excessive detail.    If Mathison believes that the reasonable limits of the
evidence have been passed, she can object at trial, and I will not hesitate to intervene if
I believe that the prosecution is exploring the prior robbery to such an extent that it is
diverting the jurors’ attention from matters properly at issue in this case.




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       THEREFORE, defendant Paige Mathison’s June 3, 2013, Motion In Limine
(docket no. 298) is denied, but without prejudice to timely objections to the
introduction of excessive evidence of the prior robbery at trial.
       IT IS SO ORDERED.
       DATED this 12th day of June, 2013.



                                          ______________________________________
                                          MARK W. BENNETT
                                          U.S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




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